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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                     )
                                              )
               Plaintiff,                     )   ORDER
                                              )
       vs.                                    )
                                              )
Andrew Sayeed Myrie,                          )
                                              )   Case No. 4:14-cr-133
               Defendant.                     )


       The court has been advised that the Government does not object to defendant's travel to

Jamaica while on release. The court AMENDS defendant's conditions of release to permit him to

travel to Jamaica while on release.

       IT IS SO ORDERED.

       Dated this 23rd day of August, 2016.

                                                  /s/ Charles S. Miller, Jr.
                                                  Charles S. Miller, Jr., Magistrate Judge
                                                  United States District Court
